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                                                                         FILED
                     UNITED STATES COURT OF APPEALS                       JUN 13 2022

                                                                      MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                      U.S. COURT OF APPEALS




   BEYOND BLOND PRODUCTIONS,                  No.   21-55990
   LLC, a California limited liability
   company,                                   D.C. No.
                                              2:20-cv-05581-DSF-GJS
               Plaintiff-counter-             Central District of California,
               defendant-Appellee,            Los Angeles

    v.
                                              ORDER
   COMEDYMX, LLC, a Delaware limited
   liability company,

               Defendant-counter-claim-
               3rd-party-plaintiff-
               Appellant,

    and

   EDWARD HELDMAN III, an individual;
   COMEDYMX, INC., a Nevada
   corporation,

               Defendants-counter-claim-
               3rd-party-plaintiffs,

     v.

   MICHELLE JUSTICE,

               Third-party-defendant.
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  Before: SCHROEDER and GRABER, Circuit Judges, and McNAMEE,* District
  Judge.

        Plaintiff-Appellees’ interlocutory application for attorneys’ fees is denied

  without prejudice. There is as yet no final judgment. See Yamada v. Snipes, 786

  F.3d 1182, 1209-1210 (9th Cir. 2015).




        *
                The Honorable Stephen M. McNamee, United States District Judge
  for the District of Arizona, sitting by designation.
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